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                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
10
     ELAINE DOUGAN,
11   for Herself, as a Private Attorney            Case No. 2:20-cv-00818
     General, and/or On Behalf Of All
12   Others Similarly Situated,
13                                                 CLASS ACTION COMPLAINT
                                      Plaintiff,   FOR INJUNCTIVE RELIEF UNDER
14                                                 THE COMMERCIAL ELECTRONIC
            v.                                     MAIL ACT, RCW 19.190, AND FOR
15                                                 DAMAGES AND INJUNCTIVE
     THE CHILDREN’S PLACE, INC.,                   UNDER THE CONSUMER
16                                  Defendant.     PROTECTION ACT, RCW 19.86
17
18                                                 JURY TRIAL DEMANDED
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     CLASS ACTION COMPLAINT FOR                                          HATTIS & LUKACS
                                                                      400 108th Avenue NE, Suite 500
     DAMAGES AND INJUNCTIVE RELIEF - 1                                     Bellevue, WA 98004
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 1            Plaintiff Elaine Dougan, demanding trial by jury as to all issues so triable, alleges as

 2   follows, on personal knowledge and/or on the investigation of her counsel, against Defendant
 3   The Children’s Place, Inc. (referred to herein as “The Children’s Place,” “Children’s Place,” or
 4   “Defendant”):
 5   I.       INTRODUCTION
 6            1.      The Children’s Place is a leading retailer and manufacturer of baby and young
 7   children’s clothing and apparel. As alleged herein, Defendant The Children’s Place has violated
 8   and continues to violate the Washington Commercial Electronic Mail Act (“CEMA”), RCW

 9   19.190, and the Washington Consumer Protection Act, RCW 19.86, by transmitting to
10   Washington consumers emails which contain false or misleading information in the subject
11   lines.
12   II.      PARTIES
13            2.      Plaintiff Elaine Dougan is a citizen of the United States of America and an
14   individual and a natural adult person who currently resides in Kennewick, Washington. Ms.
15   Dougan has resided in Washington State since 1993.
16            3.      Defendant The Children’s Place, Inc., is a corporation with its headquarters,
17   executive office, principal place of business and/or nerve center in Secaucus, New Jersey.
18   III.     JURISDICTION AND VENUE
19            4.      Subject Matter Jurisdiction. The Court has subject matter jurisdiction over
20   this civil action pursuant to 28 U.S.C. § 1332(a)(1) (i.e., diversity jurisdiction) because the
21   amount in controversy exceeds the sum or value of $75,000 (exclusive of interest and costs)
22   and the matter is between citizens of different states.
23            5.      The Court has subject matter jurisdiction over this civil action pursuant to 28
24   U.S.C. § 1332(d)(2) (i.e., Class Action Fairness Act jurisdiction) because the amount in
25   controversy exceeds the sum or value of $5 million (exclusive of interest and costs) and is a
26   class action in which any member of a class of plaintiffs is a citizen of a state different from
27   any defendant.
28            6.      Personal Jurisdiction. This Court may exercise personal jurisdiction over

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 1   Defendant pursuant to Washington State’s long-arm statute, RCW 4.28.185. This Court may

 2   exercise personal jurisdiction over the out-of-state Defendant because the claims alleged in this
 3   civil action arose from, without limitation, the Defendant’s transactions within the State of
 4   Washington, and/or the commission by Defendant of a tortious act within the State of
 5   Washington.
 6           7.      This Court may exercise personal jurisdiction over the out-of-state Defendant to
 7   the fullest extent allowed under the federal due process clause. Defendant has certain minimum
 8   contacts with the State of Washington such that the maintenance of this lawsuit does not offend

 9   traditional notions of fair play and substantial justice. As alleged in this pleading, Defendant
10   has and continue to purposefully do some act or consummate some transaction in the State of
11   Washington, Plaintiff’s claims arise from and/or are connected with said act or transaction of
12   Defendant, and the assumption of jurisdiction by this Court does not offend traditional notions
13   of fair play and substantial justice, consideration being given to the quality, nature, and extent
14   of the activity in the State of Washington, the relative convenience of the parties, the benefits
15   and protection of laws of the State of Washington afforded the respective parties, and the basic
16   equities of the situation.
17           8.      Defendant owns and operates at least ten The Children’s Place-branded retail
18   stores in the State of Washington. Defendant operates a website, www.childrensplace.com, by
19   which Defendant advertises and sells its goods, with said website being regularly seen by
20   Washington consumers and being regularly used by Washington consumers to purchase goods
21   from Defendant. Defendant regularly sends marketing emails, which Plaintiff alleges contain
22   false or misleading information in the subject lines, to thousands of residents in the State of
23   Washington.
24           9.      Venue. Venue is proper in this judicial district pursuant to the criteria
25   enunciated in 28 U.S.C. § 1391 and its attendant case law.
26   IV.     FACTUAL ALLEGATIONS
27           10.     Defendant The Children’s Place is a popular retailer and manufacturer of baby
28   and young children’s clothing and apparel.

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 1           11.     Currently, Defendant operates approximately 924 stores throughout North

 2   America, including at least ten locations in Washington State. Defendant also operates the
 3   online Children’s Place website, www.childrensplace.com, where it advertises, markets, and
 4   sells its products to consumers in the United States, including in Washington State.
 5           12.     Almost all of the products offered and sold by The Children’s Place are branded
 6   as The Children’s Place products and are exclusively offered by The Children’s Place in its
 7   retail stores and on its website. In other words, the products offered by The Children’s Place are
 8   not offered by, and are not available from, any other retailer.

 9           A.      Background Information: Defendant’s “Sales” Are False.
10           13.     Defendant creates purported list prices for its products which are inflated far
11   above the products’ regular and true selling prices. Defendant advertises virtually all of its
12   products in its brick-and-mortar stores and on its website as being (perpetually) discounted
13   from Defendant’s self-created list prices. In Children’s Place retail stores, the list prices are
14   typically the only prices printed on the product tags, where Defendant posts “ENTIRE STORE
15   ON SALE” and “XX% OFF” discount signage throughout the store and on product shelves. On
16   The Children’s Place website, the list prices are advertised as the “Was” price, and/or as the
17   strike-through price adjacent to an “XX% OFF” discount representation. For nearly all of its
18   products, the list prices and claimed discounts are false and inflated because Defendant rarely
19   or never offers the products at their stated list price.
20           14.     For most days of the year, Defendant advertises store-wide and website-wide
21   “sales” of a fixed percentage off discount (ranging from 30% to 80%). For the other days of the
22   year, Defendant continues to advertise sales and discounts for most of its products.
23           15.     Plaintiff’s allegations concerning The Children’s Place’s false discount
24   advertising scheme are based on a comprehensive investigation by Plaintiff’s counsel of
25   Defendant’s pricing practices over a more than five-year period. Plaintiff’s counsel has been
26   monitoring and scraping The Children’s Place website on an automated daily basis with a
27   proprietary software program since August 27, 2014. Plaintiff’s counsel has compiled and
28   extracted daily pricing and marketing data from the website for nearly all of the products The

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 1   Children’s Place has offered during this time. In total, Plaintiff’s counsel has assembled and

 2   analyzed a comprehensive historical database of daily prices and time-stamped screenshots of
 3   over 6 million daily offerings for over 53,000 products over this more than five-year period.
 4            16.    Plaintiff’s counsel’s exhaustive big-data analysis of millions of data points over
 5   this more than five-year period for over 53,000 products shows that The Children’s Place’s
 6   advertised website-wide “sale” events and advertised percentage-off and dollar discounts were
 7   false, and that its list prices (i.e., reference prices) from which the discounts were calculated
 8   were false and inflated. For the majority of its products, The Children’s Place never offered the

 9   products at the list price—not even for a single day. For the rest of its products, The Children’s
10   Place very rarely offered the products at the list price (e.g., typically less than ten percent of the
11   time).
12            17.    Defendant may argue that while The Children’s Place may have rarely or never
13   offered its products at the list price on its website which Plaintiff’s counsel has exhaustively
14   tracked, Defendant nonetheless could have—in theory—“established” the list price in its brick-
15   and-mortar retail stores. However, this defense would not hold water, as discovery will
16   confirm. Plaintiff’s counsel has investigated Defendant’s brick-and-mortar retail stores and has
17   found that Defendant’s false discount practices and product pricing were and continue to be
18   substantially the same both online and in-store. Virtually all the products that Defendant offers
19   in its brick-and-mortar retail stores are also available and advertised on Defendant’s website.
20   Based on the investigation of Plaintiff’s counsel, Defendant offers and advertises its products
21   with identical list prices and at substantially the same sale prices both on its website and in its
22   brick-and-mortar stores in Washington and throughout the nation.
23            18.    For example, the images below demonstrate how Defendant’s list prices, sales
24   prices, and advertised purported discounts are substantially the same both online and in-store
25   (as has been The Children’s Place’s consistent practice since at least 2014):
26
27
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 1     The Children’s Place Retail Store                       The Children’s Place Website
             February 18, 2016                                      February 18, 2016
 2
       Girls Short Sleeve Unicorn Butterflies Graphic Tee   Girls Short Sleeve Unicorn Butterflies Graphic Tee
 3            List Price: $10.50 | Sale Price: $5.00               List Price: $10.50 | Sale Price: $5.00
 4
 5
 6
 7
 8

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23
24           19.      The left photographs were taken at a Children’s Place store located in
25   Washington State on February 18, 2016. It shows Defendant advertised the Girls Short Sleeve
26   Unicorn Butterflies Graphic Tee on sale for $5.00 with a list price of $10.50. The right
27   screenshot was taken from The Children’s Place website on the same day on the product page
28   for the same t-shirt. On its website, Defendant advertised the identical list price as “Was:

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 1   $10.50” and the identical “sale” price of “$5.00”.

 2           20.     The price and discount representations regarding the t-shirt on the in-store
 3   signage and price tag, and on the product webpage on Defendant’s website, are false and
 4   misleading because, based on Plaintiff’s counsel’s data, the t-shirt was almost never offered at
 5   the $10.50 list price, and the purported $5.00 “sale” price is in fact approximately equal to
 6   Defendant’s normal and usual selling price for the t-shirt.
 7           21.     Based on Plaintiff’s counsel’s investigation, Defendant’s false discount practices
 8   on its website and in its brick-and-mortar stores have been ongoing from at least 2014 to the

 9   present.
10
             B.      Defendant Transmits Commercial Emails Containing False Or Misleading
11                   Information In The Subject Line.

12           22.     From at least March 2019, Defendant has transmitted hundreds of commercial
13   emails containing false or misleading information in the subject line to thousands of
14   Washington State consumers, including Plaintiff. (As used in this Complaint, allegations that
15   Defendant “transmitted” an email are allegations that Defendant initiated the transmission of
16   the email, conspired with another to initiate the transmission of the email and/or assisted the
17   transmission of the email. See RCW 19.190.030(1).)
18           23.     The emails Defendant transmitted falsely or misleadingly stated “XX% Off
19   Everything,” “XX% Off Entire Site,” “XX% Off Entire Store,” or similar language in the
20   subject line.
21           24.     The “XX% Off” statements are false or misleading because the discount amount
22   was false and fabricated based on Defendant’s self-created and inflated fictitious list prices at
23   which Defendant never or rarely ever offered its products.
24           25.     Below are images of two recent emails Plaintiff received on February 12, 2020,
25   and March 14, 2020, containing this type of false or misleading language in the subject line:
26
27
28

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22          26.     The subject line of the email received on February 12, 2020, reads: “⚠ 50%
23   OFF EVERYTHING + EARN 2x Place Bucks TODAY!” The subject line of the email
24   received March 14, 2020, reads: “60% OFF THE ENTIRE SITE + $4.20 GRAPHIC TEES +
25   FREE SHIPPING!” The email subject lines were false, in violation of the Washington
26   Commercial Electronic Mail Act (“CEMA”), because “EVERYTHING” was not “50% OFF,”
27   and the “THE ENTIRE SITE” was not “60% OFF.” In fact, the discounts advertised in the
28   email subject lines were false and fabricated based on inflated and fake “regular” prices.

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 1            27.   In just this calendar year alone (the year 2020), Defendant has transmitted to

 2   Plaintiff and the Class at least forty-nine (49) emails which falsely or misleadingly stated
 3   “XX% Off Everything,” “XX% Off Entire Site,” “XX% Off Entire Store,” or similar language
 4   in the subject line. See the table below:
 5
       Date          Email Subject Line
 6     02/08/2020    " TWO DAYS LEFT! XTRA 10% off with NO RUSH PICKUP + ENTIRE
                     %
                     $
                     #
 7                   site 60% off!
       02/10/2020    ) YAY! 50% OFF EVERYTHING FOR PRESIDENTS’ DAY!
                     (
                     '
 8
       02/10/2020    , 50% OFF EVERYTHING! GET THE KIDS SPRING READY!
                     +
                     *
 9
       02/11/2020    0 PRESIDENTS' DAY SALE: 50% off EVERYTHING!
                     /
                     .
                     -
10
       02/12/2020    1 PRES DAY DEAL DASH! 50% Off EVERYTHING + FREE
                     2
11                   SHIPPING!
12     02/12/2020    ⚠ 50% OFF EVERYTHING + EARN 2x Place Bucks TODAY!

13     02/13/2020    50% off EVERYTHING online ✓ 2X Place Bucks ✓ $4.99 & under graphic
                     tees ✓
14
       02/13/2020    3 STEAL of the YEAR! 50% off EVERYTHING + FREEEEEE
                     7
                     6
                     5
                     4
15                   SHIPPING!

16     02/13/2020    : THURSDAY STEAL! 50% off EVERYTHING!8
                     9
                     8                                    :
                                                          9
       02/14/2020    @ 50% OFF the ENTIRE SITE! DEALS YOU WILL LOVE!
                     ?
                     >
                     =
                     <
                     ;
17
       02/15/2020    E SUPER SATURDAY! 50% off EVERYTHING!
                     D
                     C
                     B
                     A
18
       02/15/2020    F 50% off EVERYTHING sitewide + PLACE CA$H IS NOW PLACE
                     H
                     G
19                   BUCK$ à EARN 2X PLACE BUCK$!
20     02/16/2020    HUGE HOLIDAY SALE I
                                       M| 50% off EVERYTHING!
                                       L
                                       K
                                       J

21     02/16/2020    SUNDAY STEAL! 50% off EVERYTHING + PLACE CA$H IS NOW
                     PLACE BUCK$! EARN 2X PLACE BUCK$ NR!
                                                       Q
                                                       P
                                                       O
22
       02/16/2020    ST
                     X
                     W
                     V
                     U  [ SPRING IS COMING! STOCK UP WITH 50% off EVERYTHING +
                        Z
                        Y
23                   50-60% off spring dressy!

24     02/17/2020    STAY IN AND SHOP 50% off ENTIRE SITE + $4.99 & under graphic tees!

25     02/17/2020    This DEAL won’t last! 50% off **ENTIRE SITE**!
       02/28/2020    Making it easy on mom! 50-80% off sitewide + free shipping!
26
       03/03/2020    _ Hop to it! 50-80% off EVERYTHING + Earn Place BUCK$!
                     ^
                     ]
                     \
27
       03/06/2020    d Spring it ON! 50-80% off the ENTIRE site + Earn Place Buck$!
                     c
                     b
                     à
28

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 1     03/07/2020   50-80% off ENTIRE site! A Sale Every Bunny Can Enjoye
                                                                        j!
                                                                        i
                                                                        h
                                                                        g
                                                                        f
 2     03/10/2020   M 60-80% off ENTIRE SITE starts NOW! Get ready 4 SPRING!
                    L
                    K
                    J
                    I
 3     03/11/2020   o ONLINE ONLY! 60-80% off sitewide + ship 4 free!
                    n
                    m
                    l
                    k
 4     03/12/2020   60% OFF ENTIRE SITE STARTS NOW! SHOP FOR EVERYTHING
                    THEY NEED FOR SPRING!
 5
       03/12/2020   60% OFF EVERYTHING ONLINE + $4.20 GRAPHIC TEES + $7.80
 6                  JEANS!
 7     03/13/2020   EVERYTHING 60% OFF + FREE SHIPPING!

 8     03/13/2020   WE LOVE I M 60% OFF THE ENTIRE SITE + $4.20 GRAPHIC TEES +
                              L
                              K
                              J
                    $7.80 JEANS!
 9
       03/13/2020   TIME TO STOCK UP! 60% OFF THE ENTIRE SITE + EARN PLACE
10                  BUCK$!

11     03/14/2020   NEW STYLES! 60% OFF THE ENTIRE SITE + FREE SHIPPING EVERY
                    DAY!
12
       03/14/2020   ONLINE ONLY! 60% OFF THE ENTIRE SITE + SHOP MATCHING
13                  FAMILY STYLES!

14     03/14/2020   60% OFF THE ENTIRE SITE + $4.20 GRAPHIC TEES + FREE
                    SHIPPING!
15
       03/15/2020   BETTER THAN THIS? NO WAY! 60% OFF THE ENTIRE SITE!
16     03/15/2020   THINK EASTER! 60% OFF THE ENTIRE SITE + FREE SHIPPING!
17     03/16/2020   E.V.E.R.Y.T.H.I.N.G IS 60% OFF + $7.80 JEANS!
18     03/17/2020   60% off *ENTIRE SITE* + FREE shipping!

19     03/19/2020   60-80% OFF ENTIRE SITE + GET IT BY EASTER FOR FREE!

20     03/20/2020   60-80% OFF ENTIRE SITE + ALL SHORTS $9.99 & UNDER!
       03/21/2020   60-80% OFF THE ENTIRE SITE + $9.99 & under shorts + $4.20 graphic
21
                    tees!
22     04/08/2020   60% OFF THE ENTIRE SITE + EARN POINTS ON ALL MIX N' MATCH!
23     04/09/2020   NO EXCLUSIONS! 60% OFF ENTIRE SITE + EARN $20 PLACE BUCK$!
24     04/13/2020   u Place Buck$ Redeem Starts TODAY! 60% OFF ENTIRE SITE!
                    t
                    s
                    r
                    q
                    p

25     05/03/2020   y TEES, TANKS, SHORTS! 60% OFF SITEWIDE!
                    x
                    w
                    v

26     05/05/2020   NO EXCLUSIONS! 60% off entire site + FREE shipping 24/7/365!
       05/06/2020   🌻 Think Spring! 60% off the entire site!
27
       05/07/2020   60% off everything + 60-80% off clearance!
28

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 1     05/25/2020    🇺🇸 Memorial Day Sitewide Sale! 60-80% off ENTIRE SITE!
 2     05/26/2020    📞 Summer Steals Are Calling! 60-80% off EVERYTHING!
 3     05/27/2020    60-80% OFF ENTIRE SITE! BIGGEST. SUMMER. SALE. EVER!
 4     05/30/2020    ⛅ Today's forecast: 60-80% off EVERYTHING - 0 exclusions!

 5
 6          28.     Going back further, from March 5, 2019 through December 31, 2019, Defendant
 7   transmitted at least another two-hundred-fifty (250) emails to Plaintiff and the Class which
 8   falsely or misleadingly stated “XX% Off Everything,” “XX% Off Entire Site,” “XX% Off

 9   Entire Store,” or similar language in the subject line. (The list of those 250 email subject lines
10   and dates are attached as Exhibit A.)
11          29.     Going back even further, prior to March 5, 2019, based on information and
12   belief Defendant transmitted, within the applicable limitations period, hundreds more emails to
13   Plaintiff and the Class containing similarly false or misleading information in the subject line to
14   Plaintiff and other Washington consumers.
15          30.     The false or misleading nature of Defendant’s statements was not obvious and
16   was not reasonably ascertainable by Plaintiff or an ordinary and reasonable consumer; as such,
17   the discovery rule should enlarge the applicable limitations period.
18          31.     As of the date of the filing of this pleading, Plaintiff is still receiving
19   Defendant’s commercial emails. Plaintiff would like to continue to receive Defendant’s
20   commercial emails, provided that the subject lines of the emails do not contain false or
21   misleading information.
22   V.     CLASS ACTION ALLEGATIONS
23          32.     Plaintiff Dougan brings this class-action lawsuit on behalf of herself and the
24   members of the following Washington State class:
25                  All residents of the State of Washington who, within the
                    applicable limitations period, received an email from or at the
26                  behest of The Children’s Place, Inc., that contained in the
                    subject line: “XX% Off Everything,” “XX% Off Entire Site,”
27                  “XX% Off Entire Store,” or similar language.

28          33.     Specifically excluded from the Class are each defendant, any entity in which a

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 1   defendant has a controlling interest or which has a controlling interest in a defendant, a

 2   defendant’s agents and employees and attorneys, the bench officers to whom this civil action is
 3   assigned, and the members of each bench officer’s staff and immediate family.
 4           34.      Numerosity. Plaintiff does not know the exact number of Class members but is
 5   informed and believes that the Class easily comprises thousands of people in the State of
 6   Washington. As such, Class members are so numerous that joinder of all members is
 7   impracticable.
 8           35.      Commonality and Predominance. Well-defined, nearly identical legal or factual

 9   questions affect the members of the Class. These questions predominate over questions that
10   might affect individual Class members. These common questions include, but are not limited
11   to, the following:
12                    a.     Defendant’s policies and actions regarding the subject lines of its
13   promotional emails;
14                    b.     Whether the subject lines of Defendant’s promotional emails are false or
15   misleading;
16                    c.     Whether Defendant should be ordered to pay damages; and/or
17                    d.     Whether Defendant should be enjoined from further engaging in the
18   misconduct alleged herein.
19           36.      The prosecution of separate actions by individual members of the Class would
20   create a risk of inconsistent or varying adjudications with respect to individual members of the
21   Class which would establish incompatible standards of conduct for the party opposing the class.
22           37.      By its conduct and omissions alleged herein, Defendant has acted and refused to
23   act on grounds that apply generally to Class, such that final injunctive relief and/or declaratory
24   relief is appropriate respecting the Class as a whole.
25           38.      Typicality. Plaintiff’s claims are typical of Class members’ claims. Plaintiff and
26   Class members all received emails from Defendant with false or misleading information in the
27   subject line.
28           39.      Adequacy. Plaintiff will fairly and adequately protect Class members’ interests.

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 1   Plaintiff has no interests antagonistic to Class members’ interests. Plaintiff has retained counsel

 2   who has considerable experience and success in prosecuting complex class action and
 3   consumer protection cases.
 4          40.      Further, a class action is superior to all other available methods for fairly and
 5   efficiently adjudicating this controversy. Each Class member’s interests are small compared to
 6   the burden and expense required to litigate each of their claims individually, so it would be
 7   impractical and would not make economic sense for Class members to seek individual redress
 8   for Defendant’s conduct. Individual litigation would add administrative burden on the courts,

 9   increasing the delay and expense to all parties and to the court system. Individual litigation
10   would also create the potential for inconsistent or contradictory judgments regarding the same
11   uniform conduct. A single adjudication would create economies of scale and comprehensive
12   supervision by a single judge. Moreover, Plaintiff does not anticipate any difficulties in
13   managing a class action trial.
14          41.      The nature of Defendant’s misconduct is non-obvious and/or obscured from
15   public view, and neither Plaintiff nor the members of the Class could have, through the use of
16   reasonable diligence, learned of the accrual of their claims against Defendant at an earlier time.
17   This Court should, at the appropriate time, apply the discovery rule to extend any applicable
18   limitations period (and the corresponding class period) to the date on which Defendant first
19   began transmitting commercial emails with false or misleading information in the subject line
20   to members of the Class.
21                                        CAUSES OF ACTION
22                                            COUNT I
                     Violation of the Washington Commercial Electronic Mail Act
23                                      (RCW Chapter 19.190)
24          42.      Plaintiff realleges and incorporates by reference all paragraphs alleged
25   hereinbefore.
26          43.      Plaintiff pleads this count in three separate capacities: in her individual capacity,
27   as a private attorney general seeking the imposition of public injunctive relief and/or as a
28   putative class representative serving on behalf of all others similarly situated.

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 1           44.      “CEMA [the Washington Commercial Electronic Mail Act] was enacted to

 2   protect concrete interests in being free from deceptive commercial e-mails. CEMA’s
 3   prohibition on sending commercial e-mails with false or misleading subject lines . . . creates a
 4   substantive right to be free from deceptive commercial e-mails.” Harbers v. Eddie Bauer, LLC,
 5   415 F. Supp. 3d 999, 1011 (W.D. Wash. 2019 Nov. 27, 2019) (holding that the plaintiff
 6   sufficiently pleaded concrete injury-in-fact for alleged CEMA violations based on her receipt of
 7   marketing emails from the defendant containing allegedly false “xx% off” statements in the
 8   subject line).

 9           45.      Under CEMA, it is irrelevant whether the commercial e-mails were solicited. Id.
10           46.      An injury occurs anytime a commercial e-mail is transmitted that contains false
11   or misleading information in the subject line. Id.
12           47.      CEMA creates an independent but limited private of right of action which can
13   be asserted by a person who is the recipient of a commercial electronic mail message which
14   contains false or misleading information in the subject line. RCW 19.190.030(1)(b). A plaintiff
15   who successfully alleges and proves such a violation may obtain, among other things, an
16   injunction against the person who initiated the transmission. RCW 19.190.090(1). It is
17   Plaintiff’s intent in this count to plead an independent CEMA cause of action only to the
18   limited extent that it is recognized by law, e.g., when a plaintiff seeks injunctive relief. Wright
19   v. Lyft, Inc., 189 Wn.2d 718, 728 n. 3 (2017) (“we note that a plaintiff may bring an action to
20   enjoin any CEMA violation.”); Gragg v. Orange Cab Co., 145 F. Supp. 3d 1046, 1052
21   (W.D. Wash. 2015).
22           48.      Defendant has initiated the transmission of hundreds of commercial electronic
23   mail messages with false or misleading subject lines (the “Emails”) to Plaintiff Dougan. The
24   Emails were electronic mail messages, in that they were each an electronic message sent to an
25   electronic mail address; the Emails from Defendant also referred to an internet domain, whether
26   or not displayed, to which an electronic mail message can or could be sent or delivered.
27           49.      Defendant sent the Emails for the purpose of promoting goods or services for
28   sale or lease. Defendant was the original sender of the Emails.

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 1           50.     Plaintiff Dougan received the Emails at her electronic mail address, which is the

 2   destination, commonly expressed as a string of characters, at which she receives and to which
 3   electronic mail may be sent or delivered.
 4           51.     Defendant initiated the transmission, conspired with another to initiate the
 5   transmission and/or assisted the transmission of the Emails to one or more electronic mail
 6   addresses that Defendant knew, or had reason to know, were held by a Washington State
 7   resident, i.e., Ms. Dougan and members of the Class.
 8           52.     At all relevant times, Defendant knew that the intended recipient (Ms. Dougan)

 9   was a resident of the State of Washington because, without limitation, Defendant possessed
10   actual knowledge of Ms. Dougan’s state of residence, Defendant possessed constructive
11   knowledge of Ms. Dougan’s state of residence, information was available to Defendant upon
12   request from the registrant of the internet domain name contained in the recipient’s electronic
13   mail address, and/or Defendant otherwise knew or should have known or had reason to know
14   that Ms. Dougan was a resident of the State of Washington. See Heckel, 122 Wash. App. at 6
15   (holding as a matter of law that a defendant had a reason to know that he sent emails to
16   Washington residents by sending over 100,000 emails a week to people around the country).
17           53.     In violation of CEMA and for the reasons alleged hereinabove, the subject line
18   of each Email contained false or misleading information. Specifically, the subject line of each
19   Email contained the following false information: “XX% Off Everything,” “XX% Off Entire
20   Site,” “XX% Off Entire Store,” or similar language.
21           54.     The balance of the equities favors the entry of permanent injunctive relief
22   against Defendant. Plaintiff, the members of the Class and the general public will be irreparably
23   harmed absent the entry of permanent injunctive relief against Defendant. Plaintiff, the
24   members of the Class and the general public lack an adequate remedy at law. A permanent
25   injunction against Defendant is in the public interest. Defendant’s unlawful behavior is, based
26   on information and belief, ongoing as of the date of the filing of this pleading; absent the entry
27   of a permanent injunction, Defendant’s unlawful behavior will not cease and, in the unlikely
28   event that it voluntarily ceases, is likely to reoccur.

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 1                                              COUNT II
                           Violation of the Washington Consumer Protection Act
 2                                          (RCW Chapter 19.86)
 3          55.        Plaintiff realleges and incorporates by reference all paragraphs alleged
 4   hereinbefore.
 5          56.        Plaintiff Dougan pleads this count in three separate capacities: in her individual
 6   capacity, as a private attorney general seeking the imposition of public injunctive relief, and/or
 7   as a putative class representative serving on behalf of all others similarly situated.
 8          57.        The Washington Consumer Protection Act (the “CPA”), RCW 19.86, was first

 9   enacted in 1961 and is Washington’s principal consumer protection statute. The CPA “replaces
10   the now largely discarded standard of caveat emptor with a standard of fair and honest
11   dealing.” Washington Pattern Jury Instruction Civil No. 310.00 (Consumer Protection Act—
12   Introduction).
13          58.        The CPA’s primary substantive provision declares unfair methods of
14   competition and unfair or deceptive acts or practices to be unlawful. RCW 19.86.020. “Private
15   rights of action may now be maintained for recovery of actual damages, costs, and a reasonable
16   attorney’s fee. RCW 19.86.090. A private plaintiff may be eligible for treble damages . . . .
17   Private consumers may obtain injunctive relief, even if the injunction would not directly affect
18   the individual’s own rights. RCW 19.86.090.” Washington Pattern Jury Instruction Civil No.
19   310.00 (Consumer Protection Act—Introduction).
20          59.        The CPA recognizes and incorporates per se violations. The Washington
21   Legislature routinely prohibits certain specified conduct but, instead of creating a new and
22   independent private right of action to enforce the prohibition, the Legislature deems the
23   unlawful conduct to be a per se violation of the CPA. If a defendant engages in that unlawful
24   conduct, a plaintiff may file a CPA complaint alleging the per se violation and seek the
25   remedies available under the CPA and/or also seek the remedies available under the statute
26   which forbids the per se violation. See Washington Pattern Jury Instruction Civil No. 310.03
27   (Per Se Violation of Consumer Protection Act) and Appendix H (Consumer Protection Act Per
28   Se Violations).

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 1           60.       A plaintiff can plead a violation of the Washington Consumer Protection Act by

 2   pleading that the CPA was violated per se due to a violation of the Washington Commercial
 3   Electronic Mail Act (“CEMA”). See RCW 19.190.030(1)(b) (“It is a violation of the consumer
 4   protection act, chapter 19.86 RCW . . . to initiate the transmission of a commercial electronic
 5   mail message that . . . [c]ontains false or misleading information in the subject line.”).
 6           61.       CEMA prohibits a person from initiating the transmission to an electronic mail
 7   address that the sender knows, or has reason to know, is held by a Washington State resident of
 8   a commercial electronic mail message that contains false or misleading information in the

 9   subject line. RCW 19.190.020(1)(b).
10           62.       “CEMA was enacted to protect concrete interests in being free from deceptive
11   commercial e-mails. CEMA’s prohibition on sending commercial e-mails with false or
12   misleading subject lines . . . creates a substantive right to be free from deceptive commercial e-
13   mails.” Harbers v. Eddie Bauer, LLC, 415 F. Supp. 3d 999, 1011 (W.D. Wash. 2019 Nov. 27,
14   2019) (holding that the plaintiff sufficiently pleaded concrete injury-in-fact for alleged CEMA
15   violations based on her receipt of marketing emails from the defendant containing allegedly
16   false “xx% off” statements in the subject line).
17           63.       Under CEMA, it is irrelevant whether the commercial e-mails were solicited. Id.
18           64.       An injury occurs anytime a commercial e-mail is transmitted that contains false
19   or misleading information in the subject line. Id. And, a person may recover statutory damages
20   for every violative email received. See In re Classmates.com Consol. Litig., No. C09-45RAJ,
21   2011 WL 744664, at *7 (W.D. Wash. Feb. 23, 2011) (“Washington’s Commercial Electronic
22   Mail Act (‘CEMA’), RCW Ch. 19.190, provides statutory damages of $500 for every email that
23   violates it.”).
24           65.       A plaintiff who successfully pleads and proves a CEMA violation as a per se
25   violation of the CPA may recover the remedies available under the CPA (e.g., actual damages,
26   increased damages of up to treble actual damages (subject to a statutory maximum), injunctive
27   relief, attorneys’ fees and costs (RCW 19.86.090)) and/or the remedies available under CEMA
28   (e.g., actual damages or statutory damages of $500 per email sent in violation of CEMA and

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 1   injunctive relief (RCW 19.190.040, RCW 19.190.090)).

 2          66.      Defendant has initiated the transmission of hundreds of commercial electronic
 3   mail messages with false or misleading subject lines (the “Emails”) to Plaintiff Dougan. The
 4   Emails were electronic mail messages, in that they were electronic messages sent to an
 5   electronic mail address; the Emails from Defendant also referred to an internet domain, whether
 6   or not displayed, to which an electronic mail message can or could be sent or delivered.
 7          67.      Defendant sent the Emails for the purpose of promoting goods or services for
 8   sale or lease. Defendant was the original sender of the Emails.

 9          68.      Plaintiff Dougan received the Emails at her electronic mail address, which is the
10   destination, commonly expressed as a string of characters, at which she receives and to which
11   electronic mail may be sent or delivered.
12          69.      Defendant initiated the transmission, conspired with another to initiate the
13   transmission and/or assisted the transmission of the Emails to one or more electronic mail
14   addresses that Defendant knew, or had reason to know, were held by a Washington State
15   resident, i.e., Ms. Dougan and/or others similarly situated.
16          70.      At all relevant times, Defendant knew that the intended recipient (Ms. Dougan)
17   was a resident of the State of Washington because, without limitation, Defendant possessed
18   actual knowledge of Ms. Dougan’s state of residence, Defendant possessed constructive
19   knowledge of Ms. Dougan’s state of residence, information was available to Defendant upon
20   request from the registrant of the internet domain name contained in the recipient’s electronic
21   mail address, and/or Defendant otherwise knew or should have known or had reason to know
22   that Ms. Dougan was a resident of the State of Washington. See State v. Heckel, 122 Wash.
23   App. 60, 69 (2004) (holding as a matter of law that a defendant had a reason to know that he
24   sent emails to Washington residents by sending over 100,000 emails a week to people around
25   the country).
26          71.      In violation of the Washington Consumer Protection Act (as based per se upon a
27   violation of the Washington Commercial Electronic Mail Act) and for the reasons alleged
28   hereinabove, the subject line of each Email contained false or misleading information.

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 1   Specifically, the subject line of each Email contained the following false information: “XX%

 2   Off Everything,” “XX% Off Entire Site,” “XX% Off Entire Store,” or similar language.
 3           72.     Generally, a plaintiff pleading a claim under the Washington Consumer
 4   Protection Act must plead five necessary elements: (1) an unfair or deceptive act or practice (2)
 5   in trade or commerce (3) that affects the public interest, (4) injury to plaintiff’s business and
 6   property, and (5) causation. Wright v. Lyft, Inc., 189 Wn.2d 718, 728 (2017). Because Plaintiff
 7   alleges a per se CPA violation by alleging a CEMA violation, all of these five elements are
 8   satisfied as a matter of law. Id. at 724; see also Harbers v. Eddie Bauer, LLC, 415 F. Supp. 3d

 9   at 1003 (“[B]y alleging a CEMA violation of RCW 19.190.020, a plaintiff alleges all five
10   elements of a CPA violation: (1) an unfair or deceptive act or practice, (2) in trade or
11   commerce, (3) that impacts the public interest, (4) which causes injury to the party in his
12   business or property” that is (5) causally linked to the unfair or deceptive act.”).
13           73.     Defendant’s misconduct as alleged herein was not performed in good faith.
14   Defendant’s misconduct as alleged herein was not reasonable in relation to the development
15   and preservation of business.
16           74.     The balance of the equities favors the entry of permanent injunctive relief
17   against Defendant. Plaintiff, the members of the Class and the general public will be irreparably
18   harmed absent the entry of permanent injunctive relief against Defendant. Plaintiff, the
19   members of the Class and the general public lack an adequate remedy at law. A permanent
20   injunction against Defendant is in the public interest. Defendant’s unlawful behavior is, based
21   on information and belief, ongoing as of the date of the filing of this pleading; absent the entry
22   of a permanent injunction, Defendant’s unlawful behavior will not cease and, in the unlikely
23   event that it voluntarily ceases, is likely to reoccur.
24                                        PRAYER FOR RELIEF
25           Plaintiff Elaine Dougan, on behalf of herself individually, as a private attorney general
26   and/or on behalf of the Class of all others similarly situated hereby respectfully requests that
27   this Court order relief and enter judgment against Defendant The Children’s Place, Inc., as
28   follows:

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 1           As To The First Claim (Violation of the Washington Commercial Electronic Mail

 2   Act):
 3           1.        For an order certifying the proposed Class and appointing Plaintiff and her
 4   counsel to represent the Class;
 5           2.        For an order that Defendant be permanently enjoined from the unlawful conduct
 6   alleged herein pursuant to, without limitation, RCW 19.190.090(1);
 7           As To The Second Claim (Violation of the Washington Consumer Protection Act):
 8           3.        For an order certifying the proposed Class and appointing Plaintiff and her

 9   counsel to represent the Class;
10           4.        For actual damages pursuant to, without limitation, RCW 19.86.090;
11           5.        For an increase in the award of actual damages of up to treble the actual
12   damages (up to the statutory maximum of $25,000 to be awarded to Plaintiff and to each
13   member of the Class for each violative email) pursuant to, without limitation, RCW 19.86.090;
14           6.        For damages which are the greater of (a) the actual damages incurred by
15   Plaintiff and each member of the Class or (b) the statutory damages of $500 to be awarded to
16   Plaintiff and to each member of the Class for each instance in which Defendant initiated the
17   transmission of a commercial electronic mail message which was received by a Washington
18   resident and which contained false or misleading information in the subject line (i.e., $500 to be
19   awarded to each Class member for each violative email subject line) pursuant to, without
20   limitation, RCW 19.190.040;
21           7.        For nominal damages;
22           8.        For an order that Defendant be permanently enjoined from the unlawful conduct
23   alleged herein pursuant to, without limitation, RCW 19.86.090;
24           As To Each And Every Claim:
25           9.        For an order certifying the proposed Class and appointing Plaintiff and her
26   counsel to represent the Class;
27           10.       For an order that Defendant be permanently enjoined from the unlawful conduct
28   alleged herein;

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 1          11.     For an order that the Court retain jurisdiction to police Defendant’s compliance

 2   with the permanent injunctive relief;
 3          12.     For pre-judgment and/or post-judgment interest to the extent allowed by law;
 4          13.     For attorneys’ fees to the extent allowed by law;
 5          14.     For costs to the extent allowed by law; and/or
 6          15.     For any other relief the Court deems just and proper, including, without
 7   limitation, temporary, preliminary and/or permanent injunctive relief.
 8                                           JURY DEMAND

 9          Plaintiff Elaine Dougan demands trial by jury on all issues so triable.
10
11          Respectfully submitted, this 30th day of May, 2020, by:
12                                                HATTIS & LUKACS
13
                                                  By: _________________________
14                                                    Daniel M. Hattis
15
                                                  By: _________________________
16                                                    Paul Karl Lukacs
17                                                By: _________________________
                                                      Che Corrington
18
                                                  Daniel M. Hattis, WSBA No. 50428
19                                                dan@hattislaw.com
                                                  Paul Karl Lukacs, WSBA No. 56093
20                                                pkl@hattislaw.com
                                                  Che Corrington, WSBA No. 54241
21                                                che@hattislaw.com
                                                  HATTIS & LUKACS
22                                                400 108th Avenue NE, Suite 500
                                                  Bellevue, WA 98004
23                                                Tel: 425.233.8650
                                                  Fax: 425.412.7171
24                                                www.hattislaw.com
25                                                Attorneys for Plaintiff Elaine Dougan
                                                  and the Proposed Class
26
27
28

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                                                                                400 108th Avenue NE, Suite 500
     DAMAGES AND INJUNCTIVE RELIEF - 21                                              Bellevue, WA 98004
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